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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                              Criminal No. 09-55 (7) (RHK/SER)

                     Plaintiff,                                    ORDER

v.

Alten Eugene Hall,

                     Defendant.




       On January 8, 2010, Defendant was sentenced to a 60-month term of

imprisonment following his plea of guilty to a charge of conspiracy to distribute cocaine

base in violation of federal law. The sentence was the statutory mandatory minimum for

this offense.

       Now before the Court is Defendant’s Motion for Sentence Reduction pursuant to

18 U.S.C. § 3582(c)(2). The Defendant, however, is not eligible for a sentence reduction

below the mandatory minimum 60-month term of imprisonment which was required

under 21 U.S.C. § 841(b)(1)(B) and imposed by this Court.

       Pursuant to the Fair Sentencing Act of 2010, which became effective on August 3,

2010, the statutory penalties applicable to certain cocaine base offenses were altered. It

is, however, well established that defendants who received mandatory minimum terms of

imprisonment, such as Defendant here, are not eligible for such sentence reduction.
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      Accordingly, and upon all the files, records and proceedings herein, IT IS

ORDERED that Defendant’s Motion for Sentence Reduction (Doc. No. 351) must be,

and is, DENIED.

Dated: May 2, 2012

                                        s/Richard H. Kyle
                                        RICHARD H. KYLE
                                        United States District Judge




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